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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 2:17-cr-14047-DMM

  UNITED STATES OF AMERICA,

          v.

  SCOTT JOSEPH TRADER.
  _______________________________/

      GOVERNMENT’S SENTENCING MEMORANDUM IN SUPPORT OF A LIFE
                            SENTENCE

          The United States of America requests that this Court sentence the Defendant to a term

  of life in prison.

                          The Circumstances and Nature of the Offenses1

          The defendant’s offense conduct ran virtually the whole gamut of child exploitation

  categories: actual sexual abuse; production of child pornography; online distribution and

  receipt; online coercion and enticement to produce; and possession and collection of child

  pornography—all while on bond and under DCF supervision for prior arrests involving child

  sexual abuse.

          Actual sexual abuse and production of child pornography:

          The defendant sexually abused two little girls entrusted to his care, who are now four

  and eleven years old, starting as early as when one of them was two years old, condemning



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   The defendant pleaded guilty to all five counts of the Indictment, which charge him with: Enticement of
  a minor to engage in sexual activity, in violation of 18 U.S.C. § 2422(b) (Count One); Distribution of
  material containing visual depictions of sexual exploitation of minors, in violation of 18 U.S.C. §§
  2252(a)(2) & (b)(1) (Count Two); Possession of matter containing visual depictions of sexual exploitation
  of minors, in violation of 18 U.S.C. §§ 2252(a)(4)(B) & (b)(2) (Count Three); and Production of material
  containing visual depictions of sexual exploitation of minors, in violation of Title 18 U.S.C §§ 2251(a) &
  (e) (Counts Four and Five).
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  them to a lifetime of mental anguish. PSR ¶14-17. The defendant’s abuse of these two girls

  included the video recording—over the course of several years—of putting his erect penis

  inside their mouth, having them kiss his penis, rubbing his erect penis on their vaginas, having

  them use their hands to stroke his erect penis, ejaculating onto their bed sheets while they slept,

  and using his fingers to penetrate and manipulate their vaginas while they were awake and

  while they were sleeping, among other horrors. The defendant distributed his recordings to

  other specific individuals, including minors and adults. As just one example, the defendant

  made one video where he had the two-year-old kiss his erect penis and then had the child say

  “Hi Ash,” a reference to the name of an adult woman with whom he traded child pornography.

  This evidence will be shown by the government at the sentencing hearing.

         Online Distribution and Receipt:

         The defendant distributed large amounts of child pornography over the internet to

  adults as well as to minor victims as young as eight years old, which included the

  videos/images of the defendant’s own sexual abuse of children entrusted in his care, as well as

  videos/images that were not produced by the defendant.         PSR ¶ 21. The defendant’s own

  words sent to an adult: “But every time I tried to move her blanket today she moved so I couldn't

  get a good video for u :( But she tastes so good!! I licked my finger like 6 times lol.” The

  Defendant also directly encouraged other adults, including women, to seek out sexual contact

  with small children and had them send him videos and images of the child pornography.

         Online coercion and enticement to produce:

         The defendant also engaged in sexually explicit online communications with at least

  100 minor victims (or at the very least, people who represented themselves to be minors in the

  chats) and enticed and coerced at least 44 of them to produce and send him child pornography

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  over the internet, with victims being as young as eight years old. PSR ¶ 21. The volume of

  online chat conversations involving child pornography that the defendant engaged in is

  massive; it seems this activity consumed all of his time. On some occasions, the defendant

  would coerce minors to send him child pornography by threatening to post onto public internet

  sites/chat rooms the sexual videos/images that the victims had already sent to him privately.

  The defendant punished his victims when they did not follow his orders by indeed sharing the

  victim’s sexual images with other pedophiles in chat rooms/websites, and taking screenshots

  of him doing so to prove to the victim he did it, even after the victim begged him not to, and

  telling her things like, “this is what happens when u are rude to someone. U should try talking

  next time.... I send that to 134 different picture and video traders on kik . You're pic and info

  will be all over the internet soon (: have a good night sweetheart.” PSR ¶ 22-24. As another

  example, the defendant would get minors to send him child pornography by telling them that

  he would send them iPhones or other merchandise if they sent him pornographic images of

  themselves. PSR ¶ 26-28. The trauma inflicted on these little girls after realizing their naked

  sexual photos are all over the internet forever is unimaginable.

         Possession and collection of child pornography:

         The defendant also hoarded thousands of photos and videos of horrific child

  pornography downloaded from the internet, including the rape of infants and toddlers, which

  clearly show the babies in pain, a fact callously ignored by the abusers on the videos. For

  example, one video in the defendant’s collection was an infant being anally penetrated by an

  adult male’s penis, and the child is clearly in pain while the abuser uses the girl for his own

  gratification. In their distorted view of sex, people like the Defendant can be seen interpreting

  the moans and screams of the children as being those of pleasure not pain. There is such a lack

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  of empathy that it can only be described as evil. The defendant’s collection included child

  pornography involving bestiality, for example, a video of a dog licking the vagina of a preteen

  girl. The types of child pornography in the Defendant’s collection ranged from simply

  offensive to patently disturbing. The offensiveness of the pornography ranged from close up

  images of prepubescent genitals, to lengthy videos of grade school age girls being orally,

  vaginally and anally penetrated with objects, fingers and penises. Some of the images were

  purely sadistic. These videos and images will forever serve to gratify the prurient interest of

  pedophiles around the world.

         The defendant’s collection included child pornography that the defendant himself

  produced, for example storing materials in an electronic folders called “pics with me with

  kids.” PSR ¶ 17. These images, which were distributed on the internet, have the potential of

  lasting forever. The children in those images will live the remainder of their life knowing that

  someone is trading, for personal gratification, images of the worst experience in their life.

         Recidivism:

         The defendant’s behavior consumed his life so much so that he continued this behavior

  even after previously being arrested at least two separate times on four state criminal cases

  involving child pornography and child abuse, and even while on bond on one of those cases

  and while under the supervision of DCF. PSR ¶¶ 60, 65, 66, 67. Specifically, the defendant

  was arrested on December 1, 2016 for lewd or lascivious molestation, victim under 12 (one of

  the same victims in this case), and released on bond. PSR ¶ 67. That arrest was four years

  after a 2012 arrest involving the same victim, which case was pled down to felony child

  neglect. While on bond starting in December 2016 and continuing until his arrest in May 2017,

  the defendant continued abusing children and continued receiving, distributing, and producing

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  child pornography. The defendant had plenty of chances to stop his behavior and brazenly

  chose not to. If given the chance, the defendant would have sex with as many children as he

  possible could. “I'm going out of my fucking mind! I want to fuck literally all of them,” said

  the defendant to an adult with whom he traded child pornography, in reference to there being

  seven minor girls at his house.

         No child should ever encounter this predator again. In the government’s view, the only

  fair and just result is a sentence of life imprisonment. A sentence of life imprisonment is a

  reasonable and just sentence based on the nature of the Defendant’s multiple offenses and the

  totality of the circumstances.    The Defendant’s advisory guideline range is life.         The

  Defendant’s total offense level exceeds the highest total offense level on the guideline

  sentencing table. No valid legal or factual reason exists that would justify a sentence less than

  life. Life imprisonment is the only sentence sufficient, but not greater than necessary, to

  comply with the purposes set forth in Title 18, United States Code, Section 3553(a)(2).

  Regardless of any guideline calculation, the aggravating factors in this case so far outweigh

  any mitigating factors that a life sentence is the only reasonable sentence.

   The Need to Avoid Unwarranted Sentence Disparities among Defendants with Similar
                Records who have been Found Guilty of Similar Conduct

         A life sentence for the Defendant would be proportional to sentences imposed in other

  cases when the nature of the offenses is considered. The consideration of the advisory

  guidelines range is important, because the guidelines “are an indispensable tool in helping

  courts achieve Congress’s mandate to consider ‘the need to avoid unwarranted sentence

  disparities’ among similarly situated Defendants,” United States v. Hunt, 459 F.3d 1180 (11th

  Cir. 2006); 18 U.S.C. § 3553(a)(6). Even though not bound by the guidelines, a sentencing


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  court may not give them so little consideration that it amounts to “not giv[ing] any real weight

  to the Guidelines range in imposing the sentence.” Pugh, 515 F.3d at 1200; see also Booker,

  543 U.S. at 264 (“The district courts, while not bound to apply the Guidelines, must consult

  those Guidelines and take them into account when sentencing.”). The Defendant scores life.

  He should receive a sentence of life in prison because there is no reason to vary and the

  sentence would be proportional to other sentences imposed for similar conduct. While no set

  of aggravating and mitigating factors is exactly the same, the following cases are similar to the

  Defendant’s case.

         The following cases are from within the Southern District of Florida:

              United States v. Scott Michael Williams (12-10029-CR-KING) 48, pleaded

                guilty to two counts of production of child pornography, one count of

                distribution of child pornography, two counts of possession of child

                pornography and possession of a firearm by a felon. These charges stem from

                photographs found on an external hard drive attached to Williams’s computer

                that show two prepubescent girls exposing their genitals and engaged in lewd

                and lascivious acts with the Defendant.         The girls were relatives of the

                Defendant. He claimed he was sexually abused as a child. He was sentenced

                to 100 years in federal prison by U.S. District Court Chief Judge Federico A.

                Moreno.

              United States v. Edgar Geovani Esquivel Castillo (1:10-CR-20120-DMM)

                pleaded guilty to four counts of production of child pornography, and one count

                of possession of child pornography. The evidence showed that he produced

                videos of himself engaged in sexually explicit conduct with a three-year-old

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              female he babysat at his home. Total offense score was 51, but was reduced to

              43, the maximum possible offense level.        Castillo had a criminal history

              category of I. He was sentenced to thirty years for each of the production

              convictions and ten years for the possession conviction, to run consecutively,

              for a total sentence of 1,560 months’ imprisonment by United States District

              Judge Donald M. Middlebrooks.

            United States v. Leslie Grey Vanaman (13-80088-CR-ZLOCH) 44, pleaded

              guilty to receipt and possession of child pornography (USAO had charged but

              agreed to dismiss the production count). The evidence showed that he sent

              erotic images of children in exchange for images of child pornography. He also

              lived in a naturist resort (nudist colony) where he took posed pictures of 4-5

              children, two of which were identified and were eight and eleven years old

              (some of which qualified as CP).        He had a prior possession of child

              pornography conviction. His guidelines called for life imprisonment. He was

              sentenced to 720 months - the stacked statutory maximum term of the two

              counts, by United States District Judge William J. Zloch.

            United States v. Michael Edwin Harding (15-14057-CR-ROSENBERG), 28,

              pleaded guilty to three counts of Distributing Material Involving Sexual

              Exploitation of Minors, and Possession of Material Involving Sexual

              Exploitation of Minors. The Defendant, on multiple occasions, sexually abused

              two children ages 5 and 8 who were in his care. The Defendant also attempted

              to provide one of those children to another pedophile, to be sexually abused, for

              the purpose of gaining access to innocent children the Defendant intended to

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                sexually abuse. The Defendant engaged in sexually explicit conversations with

                other pedophiles in which the participants enthusiastically exchanged extremely

                explicit descriptions of the sexual abuse committed on prepubescent children.

                His guideline range called for life imprisonment and he was sentenced to life by

                United States District Judge Robin L. Rosenberg (affirmed on appeal).

         In cases where the defendant engaged in sexual activity with children, other courts in

  the 11th Circuit have likewise sentenced defendants to the advisory guidelines sentence or

  beyond: United States v. Huskey, 349 Fed.Appx. 495 (11th Cir.2009) (70 year sentence for

  Defendant who fell within criminal history category I, who engaged in anal, oral, and vaginal

  sex with his daughter, and penetrated her vagina with objects while she was between the ages

  of 6 and 9; recorded the abuse in photographs and on videotapes, and traded images of the

  abuse over the internet for other child pornography); United States v. Oliver, 281 Fed.Appx.

  898 (11th Cir.2008) (130 year sentence for the Defendant, with no criminal record that was

  mentioned, who produced images of himself molesting a single victim, his 6–year–old

  granddaughter, and distributed those images over the internet); United States v. Foster, 209

  Fed.Appx. 942 (11th Cir.2006) (life imprisonment for the Defendant who fell within criminal

  history category I, and who during a 4–year period engaged in oral and vaginal sex with a

  single victim who was less than 12 years old when the abuse began); United States v. Sarras,

  575 F.3d 1191, 1208, 1220-21 (11th Cir. 2009) (upholding as reasonable a 100-year sentence

  for a first-time offender who sexually abused a 13-year-old girl and produced pornographic

  images of the victim); United States v. Johnson, 451 F.3d 1239, 1244 (11th Cir. 2006)

  (upholding as reasonable a 140-year sentence for abusing and photographing three boys

  between the ages of 8 and 16 based on consecutive statutory maximums under 18 U.S.C. §

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  2251(e) and § 2252A(b)(1)); United States v. Kapordelis, 569 F.3d 1291, 1318-19 (11th Cir.

  2009) (upholding as reasonable a 420-month sentence, which represented an upward variance

  from the 262-327-month advisory guidelines range and included 240-month sentences on

  counts charging production of child pornography under § 2251(a) and 180-month consecutive

  sentences on counts charging receipt of child pornography under § 2252A(a)(2)(A)); United

  States v. Huffstatler, 561 F.3d 694, 698 (7th Cir. 2009) (upholding as reasonable an above-

  guidelines, 450-month sentence for producing pornographic pictures of a 14-year-old boy);

  United States v. Raplinger, 555 F.3d 687, 695 (8th Cir. 2009) (upholding as reasonable a 457-

  month sentence for photographing and having sexual intercourse with a 15-year-old girl), cert.

  denied, 129 S.Ct. 2814 (2009); United States v. Betcher, 534 F.3d 820, 827-28 (8th Cir. 2008)

  (upholding as reasonable a 750-month (62.5 year) sentence for a first-time offender who had

  taken pornographic pictures of five 8-to-11-year-old girls, including two of his

  granddaughters), cert. denied, 129 S.Ct. 962 (2009).

         As such, a sentence of life imprisonment under the facts of this case would be consistent

  with other cases in the 11th Circuit, including the Southern District of Florida.

                       The History and Characteristics of the Defendant

         In light of all the facts and circumstances in this case, the history and characteristics of

  the Defendant should be considered aggravating and not mitigating. There is no question that

  the Defendant knew the criminal nature of his actions and that he actively, consciously, and

  knowingly, chose to violate the laws protecting children. The government is unaware of any

  redeeming behaviors by this defendant. After his 2012 arrest, the defendant was unemployed




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   for four years. PSR ¶ 91. His primary activity in life is sexually abusing kids at his house and

   online.2

           The Need For the Sentence Imposed to Reflect the Seriousness of the offense

            A sentence of life imprisonment is necessary to recognize the seriousness of the

   offenses. Every child mentioned in this case was forced, coerced, or encouraged, to participate

   in acts they did not desire. Quite simply, prepubescent children do not know about or desire

   sexual contact. Regardless of this fact, the children were perceived by their offenders as

   nothing more than an object to be used for their own gratification. Not for one moment did

   the Defendant or other offenders give consideration to the lifelong harm they were inflicting

   on these children.

                       The Defendant’s Intentions were Callous and Self Serving

            In this case, the two children the defendant abused were viewed by the Defendant as a

   commodity to exchange in order to gain access to more child pornography and pornographic

   chats online. The defendant would send images and videos of him abusing children to other

   minors in order to entice them to send him sexually explicit images and videos. The use of

   one person merely as a means to an end is a great moral wrong. It is almost impossible to



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     The Defendant has told Probation an uncorroborated account of how he had a sexual encounter as a child with other
   children on two or three separate occasions. Regardless of what impact those events may have had on his life, they
   serve as no justification for his choice to violate the law and abuse young children for his personal gratification. To
   whatever degree those events may explain the Defendant’s behavior; they do nothing to mitigate his willful choice to
   violate the law and the dignity of his victims. See generally Bruce J. Winick, Sex Offender Law in the 1990s: A
   Therapeutic Jurisprudence Analysis, 4 Psychol. Pub. Pol’y & L. 505, 524 (1998) (“People diagnosed with pedophilia
   do not molest children in the presence of police officers or in other situations presenting a high likelihood of
   apprehension. Rather, they act with stealth, deception, and premeditation in an effort to avoid detection. This is
   purposeful, planned, and goal-directed conduct, not spontaneous and uncontrollable action or action that is
   substantially beyond the individual’s ability to avoid.”); id. at 523–24 (“There is nothing in the diagnostic criteria for
   pedophilia or any of the other paraphilias that suggests that individuals diagnosed with these disorders suffer from any
   cognitive impairment that affects their ability to understand the wrongfulness of their conduct or that renders them
   irrational in any respect or unable to control their actions.... Moreover, there is nothing in the clinical literature that
   suggests that sex offenders are unable to exercise self-control.”).

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   conceive of a worse evil. For children to be subjected to such disgusting sexual acts only

   serves to amplify the moral wrong being perpetrated against them. When the defendant

   coerced minors to send him images/videos online, he gave absolutely zero consideration to the

   trauma and fear he was inflicting when he threatened these kids. Anything less than life in

   prison would fail to reflect the serious nature of these offenses.

                                 The Degree of Harm is Extensive

          A life sentence reflects the degree of harm the Defendant did to so many children. The

   still images and videos represent not just a particular day or event; they represent the image

   that victims carry in their memories for the remainder of their lives. The victims will always

   be looking, in their memory, toward the offender who is naked, aroused, and in total control.

          The Eleventh Circuit in United States v. Irey, 612 F.3d 1160 (11th Cir. 2010), analyzed

   the harm cause by the sexual abuse of children. The following paragraphs were pulled from

   the body of the Irey opinion. Much has been said to describe and emphasize the grave harm

   that sexual abuse of children inflicts on its victims. Some of the best and most recent

   descriptions of that harm can be found in Kennedy v. Louisiana, 554 U.S. 407, 128 S.Ct. 2641

   (2008). Although the Court by a 5 to 4 margin decided that capital punishment could not

   constitutionally be imposed for the rape of a child, all nine justices agreed that sexual abuse of

   children inflicts enormous harm on the victims. The majority acknowledged that:


             Here the victim’s fright, the sense of betrayal, and the nature of her injuries
             caused more prolonged physical and mental suffering than, say, a sudden
             killing by an unseen assassin. The attack was not just on her but on her
             childhood.... Rape has a permanent psychological, emotional, and
             sometimes physical impact on the child. We cannot dismiss the years of long
             anguish that must be endured by the victim of child rape.
   Id. at 2658 (citations omitted).

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          The four dissenting justices in Kennedy believed that child rape was such a serious

   crime that death could be imposed as punishment for it. Id. at 2677–78 (Alito J., joined by

   Roberts, C.J., Scalia, and Thomas, JJ., dissenting). They stressed the devastating, long-term

   effect that rape has on children. See id. at 2677 (“The immaturity and vulnerability of a child,

   both physically and psychologically, adds a devastating dimension to rape that is not present

   when an adult is raped. Long-term studies show that sexual abuse is grossly intrusive in the

   lives of children and is harmful to their normal psychological, emotional and sexual

   development in ways which no just or humane society can tolerate.” (citations and quotation

   marks omitted).

          Even before the Kennedy opinions, the Supreme Court had long recognized that

   childhood sexual abuse has devastating and long-lasting effects on its victims. See New York

   v. Ferber, 458 U.S. 747, 758 n. 9 (1982) (“It has been found that sexually exploited children

   are unable to develop healthy affectionate relationships in later life, have sexual dysfunctions,

   and have a tendency to become sexual abusers as adults.” (citing Schoettle, Child Exploitation:

   A Study of Child Pornography, 19 J. Am. Acad. Child Psychiatry 289, 296 (1980)).

          The Defendant’s crimes warrant a sentence of life in prison because of both the quality

   and the quantity of harm inflicted. He performed and promoted some of the vilest acts that

   can be committed against any person. The fact that he chose innocent children to victimize

   makes the crimes even more despicable.

              The Defendant’s Actions Harmed His Family and The Community

          Beyond victimizing innocent children, the Defendant’s actions harmed both his family

   and the community. The fallout of his choices have been devastating. The only person

   responsible is the Defendant. The mothers of his children are left to care for them. The

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   children and their mothers are now fearful and untrusting of other people. The children

   fathered by the Defendant will be without a dad.

                   The Sentence Imposed Must Promote Respect for the Law

          A sentence of life imprisonment would promote respect for the law and would be

   sufficient but not greater than necessary as applied to the facts and circumstances of this case.

   The chat messages demonstrate the utter lack of respect for the law on the part of the Defendant

   and other pedophiles. Their only concern for the law is that someday they may get caught.

   Coupled with their utter disregard for the law is the glorification of the greatest moral wrongs.

   A life sentence will provide general deterrence to members of a community that interact with

   complete indifference to the rules and norms of a civilized society. A life sentence would send

   a message of condemnation to a community that has an utter disregard for the laws protecting

   children.

                  The Sentence Must Provide Just Punishment for the Offense

          A life sentence is just punishment for the harm inflicted by the Defendant. The victims

   in this case, both the children the Defendant abused, as well as the children in the images of

   child pornography, must suffer for the remainder of their life with the experience of being

   sexually abused. They were innocent young children who did not choose those memories and

   pain. They have done nothing wrong. One must, when assessing these types of cases,

   empathize with the child who was approached by an offender and was forced, coerced, or

   encouraged, to participate in an act they did not desire. By their very nature, they did not have

   the physical or psychological ability to resist. For the remainder of their lives, they will

   remember the physical harm of having a penis, fingers, and objects forced into their vagina,

   mouth and rectum. They must remember moments when they had semen on their face or in

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   their body, or they will remember when they were bound and hidden away from the people in

   their life who could protect them.

          The images will never go away for these children, even as they grow into adulthood.

   Because the victims will need to live the remainder of their life with the psychological and

   physical scars of being sexually abused, the Defendant should serve the remainder of his life

   with a punishment proportional to the harm they have suffered. Incarceration represents a

   deprivation of pleasure. That deprivation is proportional to the mental anguish and lack of

   pleasure suffered by the many sexually abused children involved in the offenses in this case.

   The Defendant’s punishment should be for his whole life. While the Defendant may be a

   relatively young man, in his thirties, the starting point for his life sentence will be much later

   in life than that of the children he abused or encouraged others to abuse. Without hesitation

   or empathy, the Defendant victimized children and encouraged others to victimize children.

   Without hesitation, the court should impose a life sentence.

          The § 3553(a)(2)(A) consideration is the “just deserts” concept, which carries the need

   for retribution, the need to make the punishment fit the crime, and the need not just to punish

   but to punish justly. In U.S. v. Pugh, 515 F.3d 1197 (11th Cir. 2008), the Eleventh Circuit

   quoted from the Senate Report regarding this provision:


             This purpose—essentially the “just deserts” concept—should be reflected
             clearly in all sentences; it is another way of saying that the sentence should
             reflect the gravity of the Defendant’s conduct. From the public’s standpoint,
             the sentence should be of a type and length that will adequately reflect,
             among other things, the harm done or threatened by the offense, and the
             public interest in preventing a recurrence of the offense. From the
             Defendant’s standpoint the sentence should not be unreasonably harsh under
             all the circumstances of the case and should not differ substantially from the
             sentence given to another similarly situated Defendant convicted of a similar
             offense under similar circumstances.

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   515 F.3d at 1195 (quoting S.Rep. No. 98–225, at 75–76, 1984 U.S.C.C.A.N. 3258–59); see

   also United States v. Lychock, 578 F.3d 214, 220 (3rd Cir.2009); United States v. White Face,

   383 F.3d 733, 740 (8th Cir.2004); United States v. Beasley, 12 F.3d 280, 283 (1st Cir.1993).

          When child pornography is produced in conjunction with the sexual abuse of children,

   as it was here, the harm to the child victims is magnified and perpetuated. See Ferber, 458

   U.S. at 759 (stating that “the materials produced are a permanent record of the children’s

   participation and the harm to the child is exacerbated by their circulation”); Pugh, 515 F.3d at

   1197–98 & n. 12 (citing extensive congressional findings about the harm caused by child

   pornography and recognizing that “[i]n light of these detailed legislative findings and

   numerous legislative enactments, we cannot help but underscore the seriousness of this

   crime”); see also Adam Walsh Child Protection and Safety Act of 2006, Pub.L. No. 109–248,

   § 501(2)(D), 120 Stat. 587, 624 (2006) (codified at 18 U.S.C. § 2251 note) (“Every instance

   of viewing images of child pornography represents a renewed violation of the privacy of the

   victims and a repetition of their abuse.”).

          Because the punishment should fit the crime, the more serious the criminal conduct is

   the greater the need for retribution and the longer the sentence should be. The seriousness of

   a crime varies directly with the harm it causes or threatens. It follows that the greater the harm

   the more serious the crime, and the longer the sentence should be for the punishment to fit the

   crime. Child sex crimes are among the most egregious and despicable of societal and criminal

   offenses. A life sentence is a punishment that the Defendant justly deserves.

             The Sentence Must Afford Adequate Deterrence to Criminal Conduct

          A sentence of life imprisonment would be sufficient but not greater than necessary to

   provide deterrence to other individuals engaging in this type of conduct. Sexual desire may
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   be very strong, but pedophiles do not necessarily need to act on their desire. Because of

   evolving technology, the internet is becoming increasingly inaccessible to law enforcement.

   Child abusers have been taking advantage of the ever increasing ability to evade detection by

   law enforcement.     As the probability of getting caught decreases, the severity of the

   punishment must increase to deter offenders from risking apprehension. A life sentence will

   send a message that it is a crime and a great moral wrong to obtain sexual gratification from

   viewing images of abused children, producing child pornography, and exchanging children for

   sex. It would send the message that, if you do those things, you should expect to go to prison

   for the remainder of your life.

          A life sentence represents how we as a society condemn these acts. There are offenders

   victimizing children every hour of every day. The people who abuse children should know

   that with each chat, exchanged e-mail, or downloaded image, they have the possibility of being

   imprisoned for the remainder of their life. See, e.g., Ferber, 458 U.S. at 760 (“The most

   expeditious if not the only practical method of law enforcement may be to dry up the market

   for [child pornography] by imposing severe criminal penalties on persons selling, advertising,

   or otherwise promoting the product.”); Osborne v. Ohio, 495 U.S. 103, 109–10 (1990) (“It is

   also surely reasonable for the State to conclude that it will decrease the production of child

   pornography if it penalizes those who possess and view the product, thereby decreasing

   demand.”).

          Imposing a lighter sentence on one convicted of a child pornography offense would

   tend to undermine the purpose of general deterrence, and in turn, tend to increase the child

   pornography market. The problem of a missed opportunity for deterrence is compounded

   when the crime involves not just possession but also distribution of child pornography. E.g.,

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   United States v. Goff, 501 F.3d 250, 261 (3rd Cir. 2007) (“[D]eterring the production of child

   pornography and protecting the children who are victimized by it are factors that should have

   been given significant weight at sentencing....”); United States v. Barevich, 445 F.3d 956, 959

   (7th Cir. 2006) (“Transporting and receiving child pornography increases market demand. The

   greater concern under the Guidelines is for the welfare of these exploited children. The avenue

   Congress has chosen to weaken the child pornography industry is to punish those who traffic

   in it.”) The amount and type of child pornography possessed by the Defendant, coupled with

   his other criminal acts, justifies a life sentence.

    A Sentence of Life in Prison is Necessary to Protect the Public from Further Crimes of
                                         the Defendant

           Only a lifetime of imprisonment will be sufficient to prevent the Defendant from

   offending again. The Defendant’s chat messages demonstrate that abusing children was a deep

   seeded part of his psyche. Data found on the Defendant’s electronic devices indicates that he

   has been collecting and viewing child pornography since at least 2012. He had been actively

   abusing prepubescent children for years and there was no indication that he was going to stop.

   Had it not been for the efforts of Agent Brian Ray and the Office of Homeland Security

   Investigations there can be no doubt that he would be victimizing the same children today.

           The evidence demonstrates the Defendant’s inability to abide by the law. He chose to

   commit these acts even after being arrested for similar allegations and while on probation and

   while under DCF supervision. The Defendant has a pervasive and deep-seeded attraction to

   prepubescent girls. His desire to offend and his utter disregard for the law are so deep-seeded

   that the only way to protect future victims is to incarcerate the Defendant for the remainder of

   his life.


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                                            Conclusion

          Sentencing the Defendant to life in prison would be a sentence in line with many other

   sentences in the Southern District of Florida and the 11th Circuit. What makes this case

   particularly aggravating is that the defendant engaged in just about every type of sexual

   exploitation imaginable. He did not only sexually abuse children in his house, he did not only

   coerce and entice minors to send him pornography online, he did not only distribute and trade

   child pornography online, he did not only possess massive amounts of horrific videos and

   images, rather, he did all of these things. And he did them after being given several second

   chances, while on probation for sexual crimes and under DCF supervision.

          WHEREFORE, the United States of America respectfully requests that the Defendant

   be sentenced to spend the remainder of his life in the custody of the Bureau of Prisons.

                                               Respectfully submitted,

                                              BENJAMIN G. GREENBERG
                                              ACTING UNITED STATES ATTORNEY

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                                 CERTIFICATE OF SERVICE

          I hereby certify that I electronically filed the foregoing document with the Clerk of the

   Court using CM/ECF, which will transmit notification to all parties of record.


                                               BENJAMIN G. GREENBERG
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